                                                                               CLERKS OFFICE U.S. DIST. COURT
                                                                                  AT CHARLOTTESVILLE, VA
                                                                                        FILED
                          IN THE UNITED STATES DISTRICT COURT                       06/21/2019
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                                                                   JULIA C. DUDLEY, CLERK
                                   Charlottesville Division                        BY: /s/ J. JONES
                                                                                      DEPUTY CLERK
  ELIZABETH SINES et al.,                      )
       Plaintiffs,                             )         Civil Action No. 3:17-cv-00072
                                               )
  v.                                           )         ORDER
                                               )
  JASON KESSLER et al.,                        )         By:    Joel C. Hoppe
       Defendants.                             )                United States Magistrate Judge

         This matter is before the Court on Plaintiffs’ Motion for Sanctions Against Defendants

  Elliot Kline (a.k.a. Eli Mosley) and Matthew Heimbach, ECF No. 457; Motion for Sanctions

  Against Defendant Vanguard America, ECF No. 465; and Petition Regarding Recoverable

  Attorney’s Fees, ECF No. 505. See Fed. R. Civ. P. 37(b)(2). Defendants Kline and Heimbach are

  representing themselves in this matter. ECF Nos. 347, 397. Dillon Hopper, Defendant Vanguard

  America’s authorized representative in this litigation, has been directed to obtain new counsel

  and have the attorney enter an appearance on Defendant’s behalf by June 25, 2019. ECF No.

  497.

                                                   I.

         Plaintiffs’ requests for sanctions against Defendants Kline, Heimbach, and Vanguard

  America (“Defendants”) are well taken. Indeed, Defendants have not filed briefs in opposition to

  the motions against them, see ECF No. 101, and both Kline and Heimbach failed to appear at the

  motion hearing on June 3, 2019. As explained at the hearing, however, the Court finds that it

  would be premature to impose the requested evidentiary sanctions. Accordingly, Plaintiffs’

  motions for sanctions, ECF Nos. 457, 465, are hereby TAKEN UNDER ADVISEMENT

  pending further order of the Court.

                                                   II.



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            Plaintiffs have asked the Court to award their reasonable costs and attorney’s fees caused

  by Defendants’ failures to obey prior orders directing them to provide or permit discovery. See

  Fed. R. Civ. P. 37(b)(2)(C). Accordingly, each Defendant is hereby DIRECTED to file a written

  response to Plaintiffs’ Petition Regarding Recoverable Attorney’s Fees, ECF No. 505, on or

  before July 5, 2019. Responses must be filed by mail addressed to:

                Clerk of Court
                U.S. District Court for the Western District of Virginia
                255 W. Main Street, Room 304
                Charlottesville, VA 22902

  Except for good cause shown, if a brief in opposition is not timely filed by a Defendant, the

  Court will consider Plaintiffs’ petition to be unopposed by that Defendant. ECF No. 101.

                                                      III.

            In the coming weeks, the Court will hold a telephonic hearing on the record with

  Plaintiffs’ counsel, Defendant Kline, Defendant Heimbach, and Mr. Hopper and any counsel for

  Defendant Vanguard America1 in order to: (1) identify each Defendant’s outstanding discovery

  obligations; (2) set a schedule for each Defendant to satisfy those obligations; and (3) discuss

  other procedural matters. Additional copies of the Court’s prior orders explaining Defendants’

  discovery obligations are available on the case docket at ECF Nos. 287, 379, 383, 440, and ECF

  No. 282, at 23–24. The Court expects that each of the above Defendants will appear at this

  hearing and make a good faith effort to provide or permit prompt and complete discovery

  responses, as required by the Federal Rules of Civil Procedure and this Court’s prior orders.

            The Clerk will schedule this hearing. Defendants must confirm to the Court that they will

  appear and participate as directed.

            At this hearing, Defendants should be prepared to:


  1
      The other Defendants may participate as well.
                                                       2

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              x   Discuss whether they have preserved any potentially relevant evidence in their

                  possession, custody, or control, as required by the Court’s oral Order of March

                  16, 2018, ECF No. 282, at 23–24;

              x   Provide complete and accurate written answers or responses2 to Plaintiffs’ First

                  Set of Interrogatories and Requests for Production of Documents, as required by

                  the Court’s Order of March 26, 2018, ECF No. 224;

              x   Give Plaintiffs’ counsel a complete and accurate Stored Communications Act

                  (“SCA”) consent form allowing Discord to produce any discoverable documents

                  or electronically stored information (“ESI”) in response to Plaintiffs’ subpoenas,

                  as required by the Court’s Order of November 13, 2018, ECF No. 379;

              x   Complete SCA consent forms giving Plaintiffs’ counsel access to any other social

                  media accounts (e.g., Facebook, Twitter, Gab) that Defendant used to

                  communicate about the Events at issue in this lawsuit, regardless of whether those

                  accounts have been disabled, suspended, or deleted; and

              x   Comply immediately with each of the following provisions in the Stipulation and

                  Order for the Imaging, Preservation, and Production of Documents, ECF No. 383

                  (“Imaging Order”), as required by the Court’s Orders of November 19, 2018, ECF

                  No. 383, and March 4, 2019, ECF No. 440:

                       o Execute the Third Party Discovery Vendor contract;




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    Each Defendant has waived the right to object to Plaintiffs’ proper discovery requests on any ground
  other than that the requested material or information is privileged. See Fed. R. Civ. P. 26(b), 33(b)(4),
  34(b)(2). If a Defendant intends to withhold any requested material or information on privilege grounds,
  he must “expressly make the claim” and “describe the nature of the documents, communications, or
  tangible things not produced or disclosed—and do so in a matter that, without revealing information itself
  privileged or protected, will enable other parties to assess the claim.” Fed. R. Civ. P. 26(b)(5)(A)(i)–(ii).
                                                        3

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                     o Complete and provide to Plaintiffs’ counsel the Certification Form

                         attached as Exhibit A to the Imaging Order, ECF No. 383, at 16; and

                     o Make available to the Third Party Discovery Vendor for imaging and

                         collection any Electronic Devices or Social Media Account identified in

                         the Defendant’s Certification Form.

             x   Additionally, Mr. Hopper should be prepared to discuss his efforts to obtain new

                 counsel for Defendant Vanguard America, as required by the Court’s Order of

                 June 3, 2019, ECF No. 497.

                                                  IV.

         Defendant Kline, Defendant Heimbach, and Mr. Hopper for Defendant Vanguard

  America shall each sit for a deposition by Plaintiffs’ counsel devoted exclusively to that

  Defendant’s conduct in pretrial discovery, including their efforts to preserve any documents,

  information, or materials that are potentially relevant to this litigation. Defendants and Mr.

  Hopper should be prepared to answer questions about their respective Electronic Devices and

  Social Media Accounts listed in Exhibit 1 to Plaintiffs’ Motions for Sanctions, ECF Nos. 457-1,

  465-1. These depositions shall be held on the following dates:

             Mr. Hopper:                 July 30, 2019
             Defendant Kline:            August 7, 2019
             Defendant Heimbach:         August 9, 2019

  Depositions regarding the preservation of potentially discoverable information are necessary to

  address the significant deficiencies to date in these Defendants’ discovery responses. Plaintiffs

  are given leave to depose these Defendants in subsequent depositions on the merits of Plaintiffs’

  allegations. Fed. R. Civ. P. 30(a)(2)(A)(ii).




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         The Clerk shall send a copy of this Order to the parties and to Mr. Hopper at his address

  of record.

         It is so ORDERED.

                                                      ENTER: June 21, 2019



                                                      Joel C. Hoppe
                                                      U.S. Magistrate Judge




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